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1                                                     Chief Magistrate Judge Brian A. Tsuchida
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6
7                        UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF WASHINGTON
8
                                     AT SEATTLE
9
10
       UNITED STATES OF AMERICA,                         NO. MJ21-067
11
                             Plaintiff,
12                                                       MOTION FOR DETENTION

13                      v.
14     ETHAN NORDEAN
       Also known as “Rufio Panman,”
15
16                           Defendant.
17
18
            The United States moves for pretrial detention of the Defendant, pursuant to 18
19
     U.S.C. § 3142(e) and (f)
20
            1.      Eligibility of Case. This case is eligible for a detention order because this
21
     case involves (check all that apply):
22
            ☐       Crime of violence (18 U.S.C. § 3156).
23
            ☒       Crime of Terrorism (18 U.S.C. § 2332b (g)(5)(B)) with a maximum
24
                    sentence of ten years or more.
25
26          ☐       Crime with a maximum sentence of life imprisonment or death.

27          ☐       Drug offense with a maximum sentence of ten years or more.
28
      MOTION FOR DETENTION - 1                                                 UNITED STATES ATTORNEY
                                                                              700 STEWART STREET, SUITE 5220
      US v. ETHAN NORDEAN MJ21-067
                                                                                SEATTLE, WASHINGTON 98101
                                                                                      (206) 553-7970
                Case 2:21-mj-00067-BAT Document 4 Filed 02/03/21 Page 2 of 3




 1         ☐       Felony offense and defendant has two prior convictions in the four
 2                 categories above, or two State convictions that would otherwise fall within
                   these four categories if federal jurisdiction had existed.
 3
 4         ☐       Felony offense involving a minor victim other than a crime of violence.

 5
           ☐       Felony offense, other than a crime of violence, involving possession or use
 6
                   of a firearm, destructive device (as those terms are defined in 18 U.S.C. §
 7                 921), or any other dangerous weapon.
 8
           ☐       Felony offense other than a crime of violence that involves a failure to
 9                 register as a Sex Offender (18 U.S.C. § 2250).
10
           ☒       Serious risk the defendant will flee.
11
           ☒       Serious risk of obstruction of justice, including intimidation of a
12
                   prospective witness or juror.
13
           2.      Reason for Detention. The Court should detain defendant because there
14
     are no conditions of release which will reasonably assure (check one or both):
15
           ☒       Defendant’s appearance as required.
16
17         ☒       Safety of any other person and the community.

18         3.      Rebuttable Presumption. The United States will invoke the rebuttable
19 presumption against defendant under § 3142(e). The presumption applies because:
20         ☐       Probable cause to believe defendant committed offense within five years of
                   release following conviction for a qualifying offense committed while on
21
                   pretrial release.
22
           ☐       Probable cause to believe defendant committed drug offense with a
23
                   maximum sentence of ten years or more.
24
25         ☒       Probable cause to believe defendant committed a violation of one of the
                   following offenses: 18 U.S.C. §§ 924(c), 956 (conspiracy to murder or
26                 kidnap), 2332b (act of terrorism), 2332b(g)(5)(B) (crime of terrorism).
27
28
      MOTION FOR DETENTION - 2                                                UNITED STATES ATTORNEY
                                                                             700 STEWART STREET, SUITE 5220
      US v. ETHAN NORDEAN MJ21-067
                                                                               SEATTLE, WASHINGTON 98101
                                                                                     (206) 553-7970
                Case 2:21-mj-00067-BAT Document 4 Filed 02/03/21 Page 3 of 3




1          ☐       Probable cause to believe defendant committed an offense involving a
2                  victim under the age of 18 under 18 U.S.C. §§1591, 2241, 2242,
                   2244(a)(1), 2245, 2251, 2251A, 2252(a)(1) through 2252(a)(3),
3                  2252A(a)(1) through 2252A(a)(4), 2260, 2421, 2422, 2423 or 2425.
4
           4.      Time for Detention Hearing. The United States requests the Court
5
     conduct the detention hearing:
6
           ☐       At the initial appearance
7
           ☒       After a continuance of 3 days (not more than 3)
8
9
10         DATED this 3rd day of February, 2021.

11
                                               Respectfully submitted,
12
13                                             BRIAN T. MORAN
                                               United States Attorney
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15
                                               s/ Jehiel I. Baer
16                                             JEHIEL I. BAER
                                               Assistant United States Attorney
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      MOTION FOR DETENTION - 3                                              UNITED STATES ATTORNEY
                                                                           700 STEWART STREET, SUITE 5220
      US v. ETHAN NORDEAN MJ21-067
                                                                             SEATTLE, WASHINGTON 98101
                                                                                   (206) 553-7970
